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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK

    ERIC SPRONZ,
                                                                                  ANSWER
                                        Plaintiff,
                     -against-
                                                                           23-cv-03689(JMA)(SIL)
    COUNTY OF SUFFOLK, SUFFOLK COUNTY EXECUTIVE
    STEVEN BELLONE, in his official capacity only,
    SUFFOLK COUNTY POLICE COMMISSIONER RODNEY K.                                JURY TRIAL
    HARRISON, in his official capacity only,                                    DEMANDED
    SUFFOLK COUNTY COMMANDING OFFICE OF THE PISTOL
    LICENSING BUREAU LIEUTENANT MICHAEL KOMOROWSKI,
    in his official capacity only, SUFFOLK COUNTY
    POLICE OFFICER KEVIN WUSTENHOFF in his individual
    and official capacity, SUFFOLK COUNTY POLICE
    OFFICER/PISTOL LICENSING BUREAU POLICE OFFICER
    DANIEL JUGAN, in his individual and official
    Capacity, JOHN AND JANE DOE NO. 1-10, in their
    official and in their individual capacity,
                                                   Defendants.




       Defendants, County of Suffolk, Suffolk County Police Officer Kevin Wustenhoff,

Suffolk County Police Officer/Pistol Licensing Bureau Police Officer Daniel Jugan, by their

attorney, Dennis M. Brown, Acting Suffolk County Attorney, by Arlene S. Zwilling, Assistant

County Attorney, answering plaintiff’s complaint respectfully:

       1.    Aver that the allegations contained in the paragraphs numbered 1, 2 and 3 of

the complaint characterize the legal action being brought and purport to invoke the

jurisdiction of the Court pursuant to the enumerated statutes and, as such, make no answer

save to demand strict proof thereof and to deny any conduct giving rise to any cause of

action thereunder.


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       2.      Deny knowledge or information sufficient to form a belief as to the

allegations contained in the paragraphs numbered 4, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22,

23, 24, 25, 26, 27, 28, 29, 30, 31, 32, 33, 34, 35, 36, 37, 38, 39, 40, 41, 42, 43, 44, 45, 46, 47,

48, 49 and 50 of the complaint.

       3.      Deny, upon information and belief, the allegations contained in the

paragraph numbered 9 of the complaint.

                             AS TO THE FIRST CAUSE OF ACTION

       4.      Answering the paragraph numbered 51 of the complaint repeat, reiterate

and reallege each and every response to the recited paragraphs, with the same force and

effect as if the same were set forth at length herein.

       5.      Deny, upon information and belief, the allegations contained in the

paragraphs numbered 52, 53, 54 and 55 of the complaint.

                            AS TO THE SECOND CAUSE OF ACTION

       6.      Deny, upon information and belief, the allegations contained in the

paragraphs numbered 56, 57, and 58 of the complaint.

                             AS TO THE THIRD CAUSE OF ACTION

       7.      Deny, upon information and belief, the allegations contained in the

paragraph numbered 59 of the complaint.

                           AS TO THE FOURTH CAUSE OF ACTION

       8.      Deny, upon information and belief, the allegations contained in the

paragraph numbered 60 of the complaint.



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                            AS TO THE FIFTH CAUSE OF ACTION

       9.      Deny, upon information and belief, the allegations contained in the

paragraph numbered 61 of the complaint.

                            AS TO THE SIXTH CAUSE OF ACTION

       10.     Deny, upon information and belief, the allegations contained in the

paragraph numbered 62 of the complaint.

                       AS AND FOR A FIRST AFFIRMATIVE DEFENSE

       11.     That the complaint fails to state a claim upon which relief can be granted.

                      AS AND FOR A SECOND AFFIRMATIVE DEFENSE

       12.     That the damages sustained by plaintiff, if any, were caused by the plaintiff's

own culpable and/or negligent conduct.

                       AS AND FOR A THIRD AFFIRMATIVE DEFENSE

       13.     That the complaint fails to set forth facts sufficient to constitute a deprivation

of any constitutional right or other basis for a civil rights claim.

                     AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

       14.     That no policy, statement, ordinance, regulation or decision officially adopted

and/or promulgated by defendants or otherwise ratified by defendants authorized a

deprivation of plaintiff's constitutional rights.

                       AS AND FOR A FIFTH AFFIRMATIVE DEFENSE

       15.     That no custom or usage adopted, followed, endorsed or ratified by

defendants authorized a deprivation of plaintiff's constitutional rights.



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                       AS AND FOR A SIXTH AFFIRMATIVE DEFENSE

       16.     That this Court lacks subject matter jurisdiction.

                     AS AND FOR A SEVENTH AFFIRMATIVE DEFENSE

       17.     That plaintiff has failed to comply with the statutory conditions precedent to

commencement of an action against municipal defendant(s) as set forth in the New York

General Municipal Law.

                     AS AND FOR AN EIGHTH AFFIRMATIVE DEFENSE

       18.     That this Court should not proceed in the absence of parties who are

indispensable to the determination of this action, which parties plaintiff has failed to join.

                       AS AND FOR A NINTH AFFIRMATIVE DEFENSE

       19.     That defendants’ actions, if any, were justified by the facts and circumstances

presented.

                      AS AND FOR A TENTH AFFIRMATIVE DEFENSE

       20.     That the defendants, at all times complained of, acted reasonably and in good

faith in the discharge of their official duties and responsibilities.

       21.     That defendants acted in what they did solely pursuant to their duties and

responsibilities as law enforcement and/or prosecuting officials.

       22.     That defendants at all times acted in good faith in that they reasonably

believed that they were exercising and acting within their statutory and constitutional

powers.

       23.     That in performing such duties and responsibilities, defendants are and were

protected by absolute and/or qualified Federal and/or State immunity.

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                  AS AND FOR AN ELEVENTH AFFIRMATIVE DEFENSE

       24.    That this action is barred by the doctrines of qualified and/or absolute

governmental immunity for discretionary acts.

                  AS AND FOR A THIRTEENTH AFFIRMATIVE DEFENSE

       25.    To the extent that the complaint purports to set forth any supplemental state

law claims, they are barred by the plaintiff's failure to comply with the statutory conditions

precedent to commencement of an action against municipal defendant(s) as set forth in the

New York General Municipal Law.

                    AS AND FOR A TWELFTH AFFIRMATIVE DEFENSE

       26.    That plaintiff has an adequate remedy at law.

       WHEREFORE, defendants demand judgment against the plaintiff dismissing the

complaint, together with the costs, disbursements and reasonable attorneys' fees of this

action, and for such other and further relief as this Court deems just and proper.

DATED: Hauppauge, New York
       June 30, 2023                       Yours etc.,
                                           Dennis M. Brown
                                           Acting Suffolk County Attorney
                                           Attorney for defendants County of Suffolk,
                                           Wustenhoff, and Jugan
                                           H. Lee Dennison Building
                                           100 Veterans Memorial Highway, P.O. Box 6100
                                           Hauppauge, New York 11788

                                    By:    /s/ Arlene S. Zwilling
                                           Arlene S. Zwilling
                                           Assistant County Attorney
TO:
Richard W. Young, Sr., Esq.
863 Islip Avenue
Central Islip, NY 11722

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